Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 1 of 12 PageID #: 443



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                CLARKSBURG

 JOSEPH SEIKEL et al.,

                   Plaintiffs,

 v.                                  // CIVIL ACTION NO. 1:23-CV-01
                                                 (Judge Kleeh)

 DAVID B. ALVAREZ et al.,

                   Defendants.



                               SCHEDULING ORDER

         On April 13, 2023, the parties filed their meeting report and

 proposed discovery plan. Pursuant to Fed. R. Civ. P. 16(b), Fed.

 R. Civ. P. 26(f), and the Local Rules of Civil Procedure, as

 amended on March 13, 2018, the Court ORDERS that the following

 table of dates and deadlines shall govern the further preparation

 of this case.1    A scheduling conference can be requested by counsel

 if deemed necessary.


                       TABLE OF DATES AND DEADLINES


     JOIN PARTIES OR AMEND PLEADINGS                  August 14, 2023

     PLAINTIFF EXPERT DISCLOSURE                      October 27, 2023

     DEFENDANT EXPERT DISCLOSURE                      October 27, 2023

     COMPLETION OF DISCOVERY                         December 22, 2023


 1 As noted in this Court’s First Order and Notice Regarding Discovery and
 Scheduling, the report is considered advisory only. Accordingly, this Court
 adopts the proposed discovery plan of the parties only to the extent noted.
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 2 of 12 PageID #: 444
 1:23-CV-01-TSK                                               Scheduling Order



  NOTIFICATION OF MEDIATOR SELECTION                  October 27, 2023

  MEDIATION                                           January 26, 2024

  MEDIATION REPORT                                Within 10 days of the
                                                 completion of mediation

  DISPOSITIVE MOTIONS                                  March 1, 2024

  RESPONSE TO DISPOSITIVE MOTIONS                  Within 21 days of the
                                                    filing of the motion

  REPLY TO DISPOSITIVE MOTIONS                     Within 14 days of the
                                                    filing of a Response

  FINAL LIST OF WITNESSES AND EXHIBITS,                 May 1, 2024
  INTERROGATORIES, AND DEPOSITIONS TO BE
  USED AT TRIAL

  OBJECTIONS TO FINAL LIST OF WITNESSES                 May 8, 2024
  AND EXHIBITS, INTERROGATORIES, AND
  DEPOSITIONS TO BE USED AT TRIAL

  PROPOSED VOIR DIRE, JURY INSTRUCTIONS,                May 22, 2024
  VERDICT FORMS, & SPECIAL
  INTERROGATORIES

  OBJECTIONS TO VOIR DIRE, JURY                         May 29, 2024
  INSTRUCTIONS, VERDICT FORMS, & SPECIAL
  INTERROGATORIES

  MOTIONS IN LIMINE                                     June 3, 2024

  OBJECTIONS TO MOTIONS IN LIMINE                      June 10, 2024

  BIOGRAPHICAL SKETCHES                                June 10, 2024

  JOINT PRE-TRIAL ORDER                                June 14, 2024

  STIPULATION OF FACTS                                 June 14, 2024

  DESIGNATION OF JOINT EXHIBITS                        June 14, 2024

  FINAL PRE-TRIAL/SETTLEMENT CONFERENCE          June 24, 2024, at 10:00
                                                           A.M.



                                       2
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 3 of 12 PageID #: 445
 1:23-CV-01-TSK                                                 Scheduling Order



  TRIAL DATE                                         July 15, 2024, at 9:30
                                                              A.M.



         1.    JOINDER AND AMENDMENTS:           Motions to join additional

 parties, motions to amend pleadings, and any similar motions by

 the plaintiffs and defendants shall be filed by August 14, 2023.

         2.    EXPERT    DISCLOSURE:      The    plaintiffs   shall    make    the

 disclosures of information required by Fed. R. Civ. P. 26(a)(2)(A)

 and (B) for that issue to all other parties or their counsel no

 later    than    October   27,   2023.   The    defendants   shall    make    the

 disclosures required by Fed. R. Civ. P. 26(a)(2)(A) and (B) for

 that issue to all other parties or their counsel no later than

 October 27, 2023.

         3.    DISCOVERY:    All discovery shall be completed by December

 22, 2023. “Completed discovery” as used in Fed. R. Civ. P. 16(b)

 means that within the time limits set, all discovery, objections,

 motions to compel, and all other motions and replies relating to

 discovery in this civil action have been filed, and the party

 objecting or responding has had sufficient time under the Federal

 Rules    of     Civil   Procedure   to   make   responses.   The     term    “all

 discovery” in the preceding definition of “completed discovery”

 includes the disclosures required by Fed. R. Civ. P. 26(a)(1) and

 (2) but does not include the disclosures required by Fed. R. Civ.

 P. 26(a)(3).


                                          3
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 4 of 12 PageID #: 446
 1:23-CV-01-TSK                                                        Scheduling Order



        Parties have a continuing obligation to supplement their

 responses beyond the discovery cut-off date, as provided in Fed.

 R. Civ. P. 26(e). The parties should refer to L.R. Civ. P. 5.01,

 L.R. Civ. P. 26.01–.04, L.R. Civ. P. 33.01, L.R. Civ. P. 34.01,

 L.R.   Civ.    P.   36.01,   and   L.R.       Civ.   P.   37.01–.02    for   further

 instructions on discovery practice. The conduct of any discovery

 which would require a later time limit shall be permitted only on

 the order of the Court or by filed stipulation of the parties, and

 only in cases that will not be delayed for trial thereby.2

        4.     LIMITATIONS ON DISCOVERY:          The preemptive limitations on

 discovery (numbers of interrogatories, requests for admission, and

 depositions) set out in L.R. Civ. P. 26.01(c) apply to this case

 unless otherwise stipulated or ordered.

        5.     MEDIATION:     The parties shall select a mediator on or

 before October 27, 2023.        On or before that day, the parties shall

 file a notice with the Court that includes either (1) the name of

 the agreed-to mediator or (2) a notice that a mediator could not

 be agreed upon.       If a notice is filed indicating that a mediator

 could not be agreed upon, mediation will be conducted by the United

 States Magistrate Judge. Regardless of who conducts the mediation,



 2 Extension of the discovery deadline does not change the other deadlines set
 forth herein or constitute a basis for seeking extension of those deadlines. In
 particular, the deadline for dispositive motions generally cannot be changed
 without affecting the trial date. In considering whether to extend discovery,
 the parties should give thought as to any possible impact on contemplated
 dispositive motions.

                                           4
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 5 of 12 PageID #: 447
 1:23-CV-01-TSK                                               Scheduling Order



 the parties shall mediate on or before January 26, 2024.              Within

 ten (10) days of the conclusion of mediation, the mediator shall

 file with the Clerk’s Office a Report of Mediator form. This form

 can be found on the Court’s website at www.wvnd.uscourts.gov under

 the “Forms” link. This form shall be filed with the Clerk’s Office

 where the presiding judge sits. Mediation is governed by L.R. Civ.

 P. 16.06 unless otherwise stipulated or ordered.

       6.    DISPOSITIVE MOTIONS:      All dispositive motions, as well

 as deposition transcripts, admissions, documents, affidavits, and

 any other such matters in support thereof, shall be filed by March

 1, 2024. Unless parties have obtained an early briefing schedule

 from the Court, all dispositive motions should be filed after the

 close of discovery.

       Any such motions must be supported by a memorandum at the

 time the motion is filed with the Clerk. Memoranda in opposition

 to such motions shall be delivered to the Clerk with copies served

 upon opposing counsel on or before 21 days following the filing of

 the motion. Any reply memoranda shall be delivered to the Clerk

 with copies served upon opposing counsel on or before 14 days

 following the filing of a Memoranda in opposition. All dispositive

 motions unsupported by memoranda will be denied without prejudice.

 See L.R. Civ. P. 7.02(a).

       Factual assertions made in memoranda should be supported by

 specific references to affidavits, depositions, or other documents

                                       5
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 6 of 12 PageID #: 448
 1:23-CV-01-TSK                                                  Scheduling Order



 made   a    part   of   the   record   before   the   Court.   Copies   of   the

 supporting documents, or relevant portions thereof, should be

 appended to the memoranda. The parties may refer to L.R. Civ. P.

 7.02, L.R. Civ. P. 12.02, and L.R. Civ. P. 78.01 for details on

 motion practice before this Court.

        7.    FINAL LIST OF WITNESSES AND EXHIBITS AND OBJECTIONS:

 Pursuant to Fed. R. Civ. P. 26(a)(3), on or before May 1, 2024,

 the plaintiffs shall file with the Clerk a final list of those

 exhibits and witnesses that he/she actually intends to use or call

 at trial. Prior to that, he/she shall either forward copies of the

 proposed exhibits or make them available to all other counsel for

 examination. On or before May 1, 2024, the defendants shall file

 a list of proposed exhibits to be used and witnesses to be called

 at trial after having forwarded copies of them or having them

 available for examination to all other counsel. All exhibits shall

 be appropriately marked in numerical sequence (not lettered).

 Exhibit markers may be obtained from the Clerk.

        By each of the dates set forth above, each counsel shall

 tender to the Clerk two sets (preferably in binders and on disk)

 of copies of the exhibits to be used at trial. These should be

 indexed for easy reference, and each paper exhibit should be

 individually tabbed. One of the binders will be for the Court’s

 use, and the other is for use by the witness. Counsel should have

 their own copy of each exhibit and should furnish opposing counsel

                                         6
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 7 of 12 PageID #: 449
 1:23-CV-01-TSK                                               Scheduling Order



 with a copy of each exhibit. Original exhibits shall be submitted

 to the Clerk at trial and should not be tendered to the Clerk prior

 to trial.

       Any objection to any proposed witnesses or exhibit must be

 filed in writing no later than May 8, 2024, shall include a copy

 of   the   exhibit   where   possible,    and   shall   include   authority

 supporting the ground for objection. Failure to comply with this

 paragraph may constitute a waiver of objection or may result in

 the Court’s denying any objection to the admission of an affected

 exhibit or witness.

       8.    INTERROGATORIES AND DEPOSITIONS TO BE USED AT TRIAL
             AND OBJECTIONS:

       Pursuant to Fed. R. Civ. P. 26(a)(3), on or before May 1,

 2024, the plaintiffs shall file with the Clerk any interrogatories,

 answers thereto, depositions, etc., specifying the appropriate

 portions thereto that the plaintiffs intend to offer in this case.

 The defendants shall do the same on or before May 1, 2024. Before

 designating these discovery materials, the parties shall meet and

 agree as to the elimination of all irrelevant and repetitive

 matter, and all colloquy between counsel in the depositions. In

 addition, the parties shall, in good faith, attempt to resolve all

 objections to testimony. Any objections to the testimony that

 cannot be amicably resolved and the grounds for the objections

 shall be filed in writing by each of the parties no later than May


                                       7
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 8 of 12 PageID #: 450
 1:23-CV-01-TSK                                                       Scheduling Order



 8, 2024, or such objection shall be deemed to have been waived.

 The objections shall include appropriate statement of authorities

 in support of the party’s position. This paragraph does not apply

 to discovery materials that will be used at trial solely in cross-

 examination for impeachment.

       9.    PROPOSED VOIR DIRE AND JURY CHARGE:                     Proposed jury

 instructions     on    substantive    theories      of   recovery     or   defense,

 damages, and evidentiary matters peculiar to the case; pertinent

 statutory and case authority, special interrogatories, and verdict

 forms, as appropriate to the case; and all proposed voir dire

 questions requested by counsel for submission to the jury shall be

 exchanged by counsel and filed with the Court no later than May

 22, 2024.    Objections to the same shall be filed no later than May

 29, 2024.

       If the instructions, voir dire, verdict forms, and special

 interrogatories in this case are prepared on a computer in a

 software    program    compatible     with    Microsoft      Word,    counsel     are

 requested to send files containing those instructions in such a

 compatible format to the Court by email, care of Shannon Gibson at

 Shannon_Gibson@wvnd.uscourts.gov,            with    the    email    subject     line

 including the case name and party proposing the instructions. If

 the   request    for   an   email    with    the    noted   information     is    not

 followed, sanctions may occur.



                                         8
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 9 of 12 PageID #: 451
 1:23-CV-01-TSK                                                 Scheduling Order



       10.    MOTIONS IN LIMINE:         All motions in limine and other

 related pre-trial motions shall be filed with the Clerk no later

 than June 3, 2024. Responses to such motions shall be filed by

 counsel by June 10, 2024.

       11.   BIOGRAPHICAL SKETCHES:            Biographical sketches of any

 proposed expert witnesses shall be filed with the Court and with

 opposing counsel by June 10, 2024.

       12.    STIPULATION OF FACTS:           Counsel are encouraged to meet

 and enter into stipulations of facts in this case. Any such

 stipulation shall be reduced to writing, signed by counsel, and

 filed with the court and with opposing counsel by June 14, 2024.

       13.   DESIGNATION    OF   JOINT       EXHIBITS:   The   parties   should

 consider designating a list of joint exhibits and should file any

 list of exhibits to be jointly designated by June 14, 2024.

       14.   JOINT PRE-TRIAL ORDER:          A joint pre-trial order shall be

 submitted to the Court no later than June 14, 2024. The proposed

 joint pre-trial order shall contain at least those matters provided

 for under L.R. Civ. P. 16.04(b).

       The joint pre-trial order shall contain for each party a list

 of all witnesses who will be called at the trial:

             A.    Each list of witnesses should include the
                   witnesses’ addresses and a statement of the general
                   subject matter of their testimony. It is NOT
                   sufficient to designate the witnesses simply as
                   “fact,” “medical,” or “expert.” The list must also
                   include an indication in good faith of those
                   witnesses who WILL be called in the absence of

                                         9
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 10 of 12 PageID #: 452
  1:23-CV-01-TSK                                                 Scheduling Order



                     reasonable notice to opposing counsel to the
                     contrary and of those witnesses who MAY be called.

                B.   This restriction does not apply to rebuttal
                     witnesses or documents when necessity cannot be
                     reasonably anticipated. Furthermore, in the case of
                     expert witnesses, counsel shall certify that they
                     have exchanged expert reports or have otherwise
                     exchanged expert information. Expert witnesses
                     whose reports have not been furnished to opposing
                     counsel will not be permitted to testify nor shall
                     experts be permitted to testify to opinions not
                     included in the reports timely furnished.

                C.   Except for good cause shown, the Court will not
                     permit any witness to testify unless with respect
                     to such witness there has been complete compliance
                     with all provisions of this Order and prior court
                     orders.

          The witness lists submitted to this Court as part of the pre-

  trial order shall include all of a party’s potential witnesses and

  exhibits, and no party shall be permitted to add to these lists

  after the pre-trial order is submitted to the Court. Following the

  pre-trial conference, this Court shall enter the final pre-trial

  order which shall be modified only to prevent manifest injustice.

          15.   FINAL PRE-TRIAL CONFERENCE:          A pre-trial conference

  shall be held at 10:00 A.M. on June 24, 2024, at the Clarksburg,

  West Virginia, point of holding court. The pretrial conference

  shall    be   attended   in   person   by   lead   trial   counsel   for   each

  represented party, along with any unrepresented parties. Counsel

  and/or any unrepresented parties should be prepared to participate

  fully and discuss all aspects of the case, including the matters

  set forth in the pre-trial order.

                                         10
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 11 of 12 PageID #: 453
  1:23-CV-01-TSK                                                  Scheduling Order



        16.   FINAL    SETTLEMENT   CONFERENCE:          A    final   settlement

  conference shall be held after the Final Pre-Trial Conference at

  the   Clarksburg,    West   Virginia,     point   of   holding      court.   The

  settlement conference shall be attended in person by lead trial

  counsel for each represented party, persons with full authority to

  settle the case, and any unrepresented parties.

        17.   TRIAL:    Jury selection in this action shall be held at

  9:30 A.M. on July 15, 2024, at the Clarksburg, West Virginia, point

  of holding court. The court will schedule the trial for 5 days.

  If the parties believe they will need more than 5 days for trial,

  they shall notify the Court by April 15, 2024. Trial will commence

  upon the completion of jury selection and trial in any prior case

  scheduled for this date.

        18.   SETTLEMENT AUTHORITY AND SANCTIONS:            At least one of the

  attorneys for each party participating in any conference before

  trial shall have authority to make decisions as to settlement,

  stipulations, and admissions on all matters that participants may

  reasonably anticipate may be discussed. Counsel and parties are

  subject to sanctions for failures and lack of preparation specified

  in Fed. R. Civ. P. 16(f) and L.R. Civ. P. 37.01 respecting pre-

  trial conferences or orders.

        19.   DEADLINES FINAL:      The time limitations set forth above

  shall not be altered except as set forth in L.R. Civ. P. 16.01(f).

  All dates for submissions, deliveries, and filings with the Clerk

                                       11
Case 1:23-cv-00001-TSK-MJA Document 92 Filed 05/23/23 Page 12 of 12 PageID #: 454
  1:23-CV-01-TSK                                              Scheduling Order



  of the Court refer to the date the materials must actually be

  received.

        FAILURE ON THE PART OF COUNSEL TO APPEAR AT THE PRE-TRIAL

  CONFERENCE OR TO COMPLY WITH THE REQUIREMENTS OF THIS ORDER WILL

  SUBJECT THE PARTY OR ATTORNEY TO APPROPRIATE SANCTIONS UNDER THE

  RULES AND MAY RESULT IN DISMISSAL OR STRIKING OF ALL PLEADINGS OF

  THE FAILING PARTY OR PERSON. COMPLIANCE WITH THIS ORDER INCLUDES

  TIMELY AND GOOD FAITH EFFORT BY ALL PARTIES TO MEET AND JOINTLY

  PREPARE THE ITEMS DESCRIBED ABOVE.

        It is so ORDERED.

        The Court directs the Clerk to transmit copies of this

  Scheduling Order to counsel of record.

        DATED: May 23, 2023



                                     ____________________________
                                     THOMAS S. KLEEH, CHIEF JUDGE
                                     NORTHERN DISTRICT OF WEST VIRGINIA




                                       12
